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Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  Chapter 11

JPA NO. 111 CO., LTD. and                               Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                        (Jointly Administered)

                            Debtors.1


                     AFFIDAVIT OF SERVICE OF NOTICE OF
          STATUS CONFERENCE SCHEDULED FOR MARCH 31, 2022 AT 11:00 AM
STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

              JONATHAN COHEN being duly sworn, deposes and says: deponent is
not a party to the action, is over 18 years of age and resides in West Orange, New
Jersey.

               On March 29, 2022, deponent served a copy of the Notice of Status
Conference Scheduled for March 31, 2022 at 11:00 a.m. [Docket No. 181] upon the party on
the service list annexed hereto by First-Class International Mail.

                                                                /s/ Jonathan Cohen
                                                                JONATHAN COHEN
Sworn to before me this
30th day of March 2022

/s/ Cynthia Juliano
NOTARY PUBLIC




1
    The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.
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                                      SERVICE LIST


By First Class International Mail

Airbus S.A.S.
2, rond-point Emile Dewoitine 31700
Blagnac - France
Attn: A. Villanove
